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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District
                                                  __________  DistrictofofNew York
                                                                           __________


             UNITED STATES OF AMERICA                              )
                             Plaintiff                             )
                                v.                                 )      Case No. 23-cr-490
               ROBERT MENENDEZ, et al.,                            )
                            Defendant                              )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Wael Hana                                                                                                             .


Date:          01/15/2024                                                                 /s/ Elena M. Cicognani
                                                                                             Attorney’s signature


                                                                                  Elena M. Cicognani (No. 5934880)
                                                                                         Printed name and bar number
                                                                                              Gibbons P.C.
                                                                                           One Gateway Center
                                                                                            Newark, NJ 07102

                                                                                                   Address

                                                                                        ecicognani@gibbonslaw.com
                                                                                               E-mail address

                                                                                              (973) 596-4500
                                                                                              Telephone number

                                                                                              (973) 596-0545
                                                                                                FAX number


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